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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
National Council of Nonprofits, et al.,    )
                                           )
                            Plaintiffs,    )
                                           )
                     v.                    )    Civil Action No. 1:25-cv-239 (LLA)
                                           )
Office of Management and Budget, et al.,   )
                                           )
                            Defendants.    )
__________________________________________)

                                NOTICE OF APPEARANCE

       Please enter the appearance of the undersigned counsel for Defendants in the above-

captioned matter. Please note the following contact information for Mr. Schwei:

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Dated: January 28, 2025                            Respectfully Submitted,

                                                   BRETT A. SHUMATE
                                                   Acting Assistant Attorney General

                                                   ERIC HAMILTON
                                                   Deputy Assistant Attorney General

                                                   /s/ Daniel Schwei
                                                   DANIEL SCHWEI
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